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                                                                              December 11, 2020

             Hon. Judge Michael E. Wiles
             U.S. Bankruptcy Court
             One Bowling Green
             New York, New York 10004

                                                            Re:    Tronox v. Anadarko, Adv. Proc. 09-1198
                                                                   In re Tronox Incorporated, et al., Chapter 11
                                                                   Case No. 09-10156-MEW

                                                                   Motion to Re-Open Adv. Proceeding

             Dear Judge Wiles:

                     Thank you for granting our request to adjourn the hearing on the Motion to Re-Open the
             above-referenced adversary proceeding from December 15, 2020, to January 27, 2021, at 10:00 a.m.

                                                                              Very truly yours,

                                                                              /s/Norma E. Ortiz

                                                                              Norma E. Ortiz
             cc:       Robert Yalen, A.U.S.A
                       Peter Aranoff, A.U.S.A.
                       Matthew C. Ziegler, Esq.
